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                                       #:1560


1     Stephen Chapman In Pro Se
      7917 Selma Ave 336
2
      Los Angeles CA 90046
3     619-550-7543
      StefinChapman@outlook.com
4

5                           UNITED STATES DISTRICT COURT
6
                           CENTRAL DISTRICT OF CALIFORNIA
7

8

9     STEPHEN CHAPMAN,                     Case: 2:2 S 4-cv-10546-MWF-BFM
                                           Judge: Honorable Judge Michael W.
10    Plaintiff,                           Fitzgerald.
11    v.
12
      HORACE MANN PROPERTY AND             NOTICE OF SUPPLEMENTAL
13    CASUALTY INSURANCE COMPANY, et       EVIDENCE RELATED TO DOCKET
      al., |                               ENTRY NO. 50, STAMPS.COM METER
14
                                           POSTAGE DATA ON 12/5/2024, AND
15                                         12/6/2024, INCLUSIVE OF NOTABLE
      Defendants.
                                           RELATIVE EVIDENCE
16

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                    NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
                                          -1
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                                                 #:1561


1     TO THE HONORABLE COURT AND ALL PARTIES:
2

3     Plaintiff Stephen Chapman, appearing in propria persona, respectfully submits this Notice of

4     Supplemental Evidence for the limited purpose of preserving the record and informing the Court
5
      of newly obtained third-party metadata obtained pursuant to subpoena, evidencing material
6
      inconsistencies in Defendant’s service declarations. This submission is made pursuant to the duty
7
      of candor under Federal Rule of Civil Procedure 11(b) and in light of prior guidance from the
8

9     Court concerning unsolicited supplemental filings.

10
      I. BACKGROUND AND SUBPOENA EXECUTION
11

12
      As Plaintiff has meticulously complied with FRCP 45 as evident is the record, see Dkt No. 50
13
      this notice delivers upon Plaintiff’s objectives in obtaining the targeted information.
14

15
      On May 28, 2025, Plaintiff caused a Rule 45 subpoena to be served upon Stamps.com, Inc.,
16
      seeking production of postage meter usage data associated with specific meter numbers
17

18    registered to Freeman Mathis & Gary LLP ("FMG"). The subpoena requested print logs, user

19    credentials, and transmission metadata for all postage generated from November 2024 through
20
      January 2025.
21

22    Stamps.com returned certified metadata logs for seven active meters used by FMG. A review of
23
      that data shows:
24

25          No postage was generated by any FMG-registered meter on or before December 6, 2024,
26
             despite Defendant’s sworn declarations asserting service occurred on December 5, 2024.
27

28




                         NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
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1             No documents match the postage costs reflected in the evidence provided by the
2
               Defendant on record, See ECF No. 1-3 Exh B-26.
3
              For example, Meter No. 2832848—associated with the Miami office—did not print
4
               postage until December 11, 2024 at 7:16 AM PT, contradicting the sworn Proof of
5

6              Service claiming mail service occurred on December 5 and 6th, 2024: See Defendant

7              Horace Mann's Opposition to Plaintiff's Motion to Remand, [Docket No. 34], at 4, lines
8
               7-12, ‘…December 6, 2024.. Plaintiff was provided with courtesy copies of all removal
9
               documents filed in this Court that same day, along with a note that “Hard copies will
10
               follow via U.S. Mail” and a list of all the documents (the hard copies were, in fact,
11

12             served by mail that same day)1. (Emphasis added)

13            Other meters, including Nos. 9796027 (Georgia), 2690676 (Ft. Lauderdale), and
14
               10264564 (Los Angeles), show similar inactivity on or before December 5–6, 2024.
15

16    This metadata confirms that the filings were not timely served, and that declarations submitted
17
      by Defendant contain false factual assertions, which appear to have been made knowingly.
18

19    II. PROCEDURAL SIGNIFICANCE2
20

21    Under FRCP 5(b)(2)(C), service by mail is effective only upon actual mailing.

22

23

24

25                      1
                            Not only are the claims made by defendants demonstrably false and impeached by the
      Stamps.com Data; but also, even without the stamps.com data, the Defendant is admitting having “served” by mail
26    unstamped documents that cannot be validated; this was nothing more than as a sloppy hail Mary by Defendants,
      attempting to preempt their inevitable failure by not meeting the 30-day statutory deadline to file the NOR which
27    expired December 8. This is now fact – PACER records confirm an attempt to open the case in federal court was
      tried at 5:08 PM yet failed – past postal hours (in case that isn’t clear)
28                        2
                            This notice is filed without prejudice and without requesting affirmative relief at this time.
      Plaintiff reserves the right to pursue sanctions and further judicial remedies in subsequent filings.


                            NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
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1     Under 28 U.S.C. § 1446(d), removal is effectuated only when a copy of the notice is both filed in
2
      federal court and served upon all adverse parties.
3

4     The evidence now fully supports Plaintiff's longstanding objections that were never substantiated
5
      against by the defendants yet taken at their word – now proven, no valid mailing or service
6
      occurred prior to the December 8, 2024 removal deadline. This late mailing—undisclosed to
7
      the Court—raises serious questions under FRCP 11(b)(3) (representations to the Court lacking
8

9     evidentiary support) and FRCP 60(d)(3) (fraud on the Court).

10
      Additional evidence relevant to the subject matter stated within the context and purposes of this
11

12    notice that should be entered into the record attached hereto includes:

13
          1. Copy of CMC (CM-110) filed in state court ¶2 at *2 Amount in controversey, in direct
14

15             contrast to def’s misrepresentation of the plaintiff and the discussion recap in ECF 34-2.

16        2. Plaintiff’s preserved objections to improper service and docket tampering/obstruction3
17
          3. Copy of intermittent changes to the plaintiff’s address randomly captured reflected on the
18
               record.
19
          4. Stamps.com meter metadata contradicting declared mailing dates.
20

21        5. Copy of Plaintiff’s Declaration See Docket 12, pp. 1-[2-5]; Defendant’s recklessly

22             misrepresent the Plaintiff’s declaration to be in direct contrast with the Plaintiff’s
23
               statements, See ECF 34 at 3 pp. 12-2.
24

25

26

27

28                       3
                         Side by side comparison of docket at different months revealing inconsistencies in plaintiffs
      address that appear intermittently.


                             NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
                                                               -4
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1        6. Also, for the record while we are here, the Defendant’s NOR did not cause the court to
2
             stay – it’s laudable because it appears they truly believe this or true to form, they
3
             misrepresent the posture.
4
                 1. Special Stay was entered due to Plaintiff’s request to the court to Stay which was
5

6                    made on 12.28.2024 and hearing scheduled for 3.18.2025; then subsequently

7                    changed to grant leave and slightly sooner date of 3.13.2025; this can further be
8
                     determined as the court entered into Special State BEFORE defendants served the
9
                     NOR as reflected in the docket. Moreover, on 01.14.2025, the court scheduled,
10
                     ordered and served both parties to appear on 3.13.2025 advancing CMC to that
11

12                   same day of the Motion Hearing. However, the Defendant’s argued against my

13                   attempts to meet and confer over the CMC requirnments and misrepresented the
14
                     case as removed and no such hearing would happen – yet they appeared.
15

16    III. LODGMENT AND CONFIDENTIALITY
17

18    Plaintiff attaches a redacted and consolidated (3 sheets) version of the meter activity, location,

19    and relevant use summary as Exhibit 1, demonstratively limited to metadata necessary to
20
      support this notice. To preserve privacy and comply with Local Rule 79-5, Plaintiff is prepared
21
      to lodge the full production under seal in compliance with Local Rule 79-5, and to make them
22
      available for in camera review at the Court’s discretion.
23

24
      III. APPENDIX – POSTAGE PRINTING RECORDS (Excerpts/High Level Insights)
25

26
      Meter #     User Name            Print Date (PT)                Origin ZIP        Notes
      2832848     JMcMxxxxFMG          12/11/2024 07:16 AM            33156             No record of
27                                                                                      alledged activity
                                                                                        12/5/2024-
28
                                                                                        12/06/2024


                        NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
                                                         -5
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                                                   #:1565


1     9796027      CMxxxxxx462          12/12/2024 (multiple)          32751             No 12/5/2024-
2
                                                                                         12/06/2024
                                                                                         activity
3     2690676      KMcxxxxxFMG          12/11/2024 13:49–15:13         33301             No 12/5/2024-
                                                                                         12/06/2024
4
                                                                                         activity
5     10482036 HB Office                N/A                            N/A               No postage
                                                                                         dated 12/5/2024-
6                                                                                        12/06/2024
7                                                                                        recovered
      10264564 Wxxxxx Hxxxx             N/A                            90071             No postage
8
                                                                                         dated 12/5/2024-
9                                                                                        12/06/2024
                                                                                         recovered
10

11    IV. CONCLUSION

12
      The Plaintiff includes all data provided by Stamps.com consolidated per their respective
13
      categories “log In” “Account” “Print/Orders” in a single document comprised of the 3 sheets,
14
      total, to preserve the privacy of names and other sensitive details which have been redacted from
15
      the public record. However, upon the Court’s request, the Plaintiff will lodge under seal all seven
16
      Excel files produced by Stamps.com, consistent with the confidentiality requirements of Local
17
      Rule 79-5 and subject to in camera inspection if necessary.
18

19    Plaintiff provides this information for record integrity and reserves all rights to further relief
20    upon motion. A true and correct copy of the subpoena return and relevant envelope images are
21
      available for judicial inspection upon request.
22
      Respectfully submitted,
23

24
      Dated: June 10, 2025
25

26    ___________________
27
      Stephen Chapman
      Plaintiff, In Propria Persona
28




                         NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
                                                        -6
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                                       #:1567


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20                    DECLARATION
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     Case 2:24-cv-10546-MWF-BFM             Document 59 Filed 06/10/25            Page 9 of 33 Page ID
                                                 #:1568


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5                                 UNITED STATES DISTRICT COURT
6
                                 CENTRAL DISTRICT OF CALIFORNIA
7

8

9     STEPHEN CHAPMAN,                                   Case: 2:2 S 4-cv-10546-MWF-BFM
                                                         Judge: Honorable Judge Michael W.
10    Plaintiff,                                         Fitzgerald.
11    v.
12                                                       DECLARATION OF STEPHEN
      HORACE MANN PROPERTY AND                           CHAPMAN RE: FALSIFIED SERVICE
13    CASUALTY INSURANCE COMPANY, et                     EVIDENCE AND DOCKET TIMELINE
      al., |                                             INCONSISTENCIES
14

15
      Defendants.
16

17

18

19    I, Stephen Chapman, declare as follows:
20
           1. I am the Plaintiff in the above-captioned matter, appearing in propria persona. I make this
21
              declaration based on personal knowledge and upon review of court records, electronic
22
              filing metadata, and certified documents produced in response to a Rule 45 subpoena
23
              issued to Stamps.com.
24

25
           2. On May 28, 2025, I caused a subpoena to be served on Stamps.com, requesting postage

26            print logs and metadata associated with postage meters registered to Freeman Mathis &

27            Gary LLP, including but not limited to meters 62S0001443186, 063S0001443221,

28            063S0014950427, and 06380001443103. These meters were selected based on their



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1
            association with specific attorneys, FMG personnel, and offices believed to be
2
            responsible for mailing documents to Plaintiff’s address. Stamps.com ultimately
3
            identified and returned records for seven active meters used by FMG during the period
4
            from November 2024 through January 2025.
5
         3. The data returned by Stamps.com confirms that multiple key filings in this matter—
6
            namely, the Answer, Notice of Removal, Inital Civil Cover Sheet, Rule 26(f) Report,
7
            and each related proofs of service and affidavit —were not mailed, served, or filed on
8
            the dates declared by defense counsel, and in some instances, not until days after the
9
            court docket reflects them as filed.
10

11

12

13     I. FEDERAL PROCEDURAL AND STATUTORY REQUIREMENTS
14
         4. Under Federal Rule of Civil Procedure 5(b)(2)(C), service by mail is effective only
15
            upon actual mailing.
16
         5. Under FRCP 5(d)(1), any document that is served must be filed “within a reasonable
17
            time” thereafter.
18
         6. Under 28 U.S.C. § 1446(d), a Notice of Removal must be filed in federal court, served
19

20
            upon all adverse parties, and filed in the state court promptly to effectuate removal.

21       7. FRCP 81(c)(2) requires a responsive pleading to be served within 7 days of the Notice of

22          Removal.

23       8. Filing by CM/ECF must comply with Local Rule 5-4.3.1, which limits electronic filing

24          credentials to attorneys of record and authorized registered users.

25

26

27     II. OBJECTIVE TIMELINE AND METADATA EVIDENCE
28




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1
         9. Defendants filed a Notice of Removal plus attachments on Friday, December 6, 2024,
2
             with PACER reflecting the Notice filed at 5:08 PM, followed by the Notice of Interested
3
             Parties at 5:11 PM that same evening.
4
         10. The Notice of Removal included an Answer dated December 5, 2024, accompanied by a
5
             declaration of service stating that the Answer was served on Plaintiff by both email and
6
             mail on December 5, 2024.
7
         11. However, the Stamps.com metadata tied to Meter No. 2832848, associated with FMG’s
8
             Miami office, shows that a First-Class envelope bearing $0.97 in postage was not printed
9
             until December 11, 2024, at 7:16 AM PT. No envelope was generated or mailed on
10
             December 5 or 6 from that meter.
11

12
         12. Similarly, metadata from meters 9796027, 11458496, 10264564, 10264565, 10482036,

13
             and 2690676 confirms that no documents were printed or mailed from any FMG office

14           on December 5 or 6, 2024.

15       13. These meters represent FMG offices in Los Angeles, Miami, Atlanta, Ft. Lauderdale, and

16           El Segundo—collectively encompassing every office tied to filings in this action.

17       14. Accordingly, no valid mailing of the Answer, Notice of Removal, or any of their

18           attachments or enclosures occurred on or before December 5–6, 2024, and therefore

19           service was legally ineffective until December 11, 2024 at the earliest—after the
20           statutory 30-day removal deadline of December 8, 2024, had expired.
21
          15. I have consistently maintained, and now substantiated with verified evidence, that I never
22
             received any valid copy of the Answer or Notice of Removal ("+ attachements") as
23
             argued, described, and declared by Defendants. The evidence establishes that no such
24
             service or filing could have lawfully or physically occurred until after December 11,
25
             2024.
26

27

28




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1
          16. As the Plaintiff, I have been forced to argue against false declarations and presumed
2
              timelines, all while denied procedural fairness, due process, and access to a neutral
3
              record. The metadata now confirms, with third-party authority, what I have represented to
4
              the Court since the outset.
5
          17. Consolidated pages of postage meter print logs for each of the seven FMG-registered
6
              meters is appended hereto as Exhibit 101. Full metadata reports are available to the
7
              Court for in camera inspection or submission under seal, pursuant to Local Rule 79-5
8
              and FRCP 26(c), to protect sensitive digital signatures and transmission data embedded
9
              in the subpoena return.
10

11
       I declare under penalty of perjury under the laws of the United States of America that the
12
       foregoing is true and correct.
13
       Executed on this 10 day of June 2025 in Los Angeles, CA,
14

15     _________________________

16     Stephen Chapman Plaintiff, In Pro Se
17

18

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                         NOTICE: EVIDENCE FURNISHED BY STAMPS.COM
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         Exhibit 1
           Stamps.com Data
                               see Dkt 50
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Customer Information - N[REDACTED]                                             #:1573
Meter Number: [REDACTED]
Company Name: Freeman Mathis and Gary, LLP




Print Details
        Print Date           Print Type          Mail Class               Mail Type       Cubic Pricing     Postage        Confirmation Number
           (PT)                                                                                               ($)
  12/11/2024 3:13:48 PM   NetStamp        First Class         Envelope                                            $10.20
  12/11/2024 1:49:19 PM   NetStamp        First Class         Envelope                                            $0.69
  12/11/2024 1:48:50 PM   NetStamp        First Class         Envelope                                            $9.92
  12/11/2024 1:48:24 PM   NetStamp        First Class         Envelope                                           $10.20




Customer Information - N[REDACTED]
Meter Number: [REDACTED]
Company Name: Freeman Mathis and Gary, LLP



Print Details
        Print Date           Print Type          Mail Class               Mail Type       Cubic Pricing     Postage        Confirmation Number
           (PT)                                                                                               ($)
  12/11/2024 7:16:21 AM   NetStamp        First Class         Envelope                                            $0.97
  12/3/2024 9:00:16 AM    NetStamp        First Class         Envelope (Non-Standard)                             $3.43
  12/3/2024 8:59:58 AM    NetStamp        First Class         Envelope (Non-Standard)                             $3.43
  12/3/2024 8:59:45 AM    NetStamp        First Class         Envelope (Non-Standard)                             $3.43
  12/3/2024 8:59:25 AM    NetStamp        First Class         Envelope (Non-Standard)                             $3.43




Customer Information - T[REDACTED]
Meter Number: 9[REDACTED]
Company Name: Freeman Mathis and Gary, LLP



Print Details
       Print Date
                               Case 2:24-cv-10546-MWF-BFM
                             Print Type     Mail Class
                                                                          Document
                                                                           Mail Type
                                                                                        59 FiledCubic
                                                                                                 06/10/25
                                                                                                      Pricing
                                                                                                                 Page 15 of 33 Confirmation
                                                                                                                   Postage
                                                                                                                                Page ID Number
          (PT)                                                                       #:1574                          ($)
12/12/2024 12:19:05 PM   Shipping Label     Ground Advantage   Package                        No Cubic Pricing             $5.50 9400111899561549662725
12/12/2024 10:41:26 AM   Internet Postage   First Class        Envelope                       No Cubic Pricing             $0.69 00040899560516423426
12/12/2024 10:06:34 AM   Shipping Label     First Class        Envelope (Non-Standard)        No Cubic Pricing             $2.04 00040899560516491569
12/12/2024 6:08:09 AM    Internet Postage   First Class        Envelope                       No Cubic Pricing             $9.64 00040899560516487404
12/10/2024 6:56:44 AM    NetStamp           First Class        Envelope (Non-Standard)                                     $2.31
12/10/2024 6:55:43 AM    NetStamp           First Class        Envelope (Non-Standard)                                     $2.04
12/10/2024 6:55:43 AM    NetStamp           First Class        Envelope (Non-Standard)                                     $2.04
12/10/2024 6:42:01 AM    NetStamp           First Class        Envelope                                                    $9.64
12/10/2024 6:39:46 AM    NetStamp           First Class        Envelope                                                    $0.69
12/6/2024 12:56:48 PM    NetStamp           First Class        Envelope                                                    $0.69
12/6/2024 12:56:30 PM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69
12/4/2024 11:49:18 AM    NetStamp           First Class        Envelope                                                    $0.69




                                                                                         14
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Recipient Address                           Return Address               Weight    Weight (lbs/oz)   Originating
                                                                        Category                      Zip Code
                                                                           0.5        0 lb 1 oz        33301
                                                                          0.5         0 lb 1 oz        33301
                                                                          0.5         0 lb 1 oz        33301
                                                                          0.5         0 lb 1 oz        33301




Recipient Address                           Return Address               Weight    Weight (lbs/oz)    Weight
                                                                        Category                     (numeric)
                                                                           0.5        0 lb 1 oz        0.0625
                                                                          0.5         0 lb 1 oz        0.0625
                                                                          0.5         0 lb 1 oz        0.0625
                                                                          0.5         0 lb 1 oz        0.0625
                                                                          0.5         0 lb 1 oz        0.0625




                                               15
                  Case 2:24-cv-10546-MWF-BFM
           Recipient Address
                                                 DocumentReturn
                                                          59 Address
                                                                Filed 06/10/25   Page 17 of 33 Page
                                                                                         Weight
                                                                                                     ID
                                                                                                 Weight (lbs/oz)    Weight
                                                       #:1576                             Category                 (numeric)
[REDATED                              [REDATED                                                1       0 lb 10 oz     0.6250
[REDATED                              [REDATED                                              0.5        0 lb 1 oz    0.0625
[REDATED                              [REDATED                                              0.5        0 lb 3 oz    0.1875
[REDATED                              [REDATED                                              0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625
                                                                                            0.5        0 lb 1 oz    0.0625




                                                            16
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                                                                               #:1577




Destination Zip    Destination              User Name      Cubic              Cubic          Cubic
     Code           Country                                Length             Width          Height
                                     JMcM[REDACTED]FMG
                                     JMcM[REDACTED]FMG
                                     JMcM[REDACTED]FMG
                                     JMcM[REDACTED]FMG




 Originating      Destination Zip             Zone       Destination        User Name        Cubic    Cubic    Cubic
  Zip Code             Code                               Country                            Length   Width    Height
   33156                                                               [REDATED
    33156                                                              [REDATED
    33156                                                              [REDATED
    33156                                                              [REDATED
    33156                                                              [REDATED




                                                                                        17
Originating   Destination Zip
                                Case 2:24-cv-10546-MWF-BFM
                                          Zone       Destination
                                                                   Document
                                                                      Cubic
                                                                              59 Filed
                                                                                  Cubic
                                                                                        06/10/25
                                                                                            Cubic
                                                                                                     Page   19 of 33 Page ID
                                                                                                     User Name
 Zip Code          Code                                  Country           #:1578
                                                                      Length      Width     Height
  32751           42728                     5                           12            1        8     [REDATED
  32751           33605                     2                                                        [REDATED
  32751           34471                     2                                                        [REDATED
  32751           30265                     4                                                        [REDATED
  30297                                                                                              [REDATED
  30297                                                                                              [REDATED
  30297                                                                                              [REDATED
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  30297                                                                                              [REDATED




                                                                               18
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                                                   #:1579

                                                                                                        PI Compliant
 date_time    ipaddress       ip Geolocation      Column1    credentialstatus       username
                                                                                                         username2
 12/11/2024   [REDACTED] ->      unknown                           Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->     Pennsylvania                       Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->     Pennsylvania                       Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->     Pennsylvania                       Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->     Pennsylvania                       Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->     Pennsylvania                       Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->      unknown                           Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->      unknown                           Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->      unknown                           Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG
 12/11/2024   [REDACTED] ->     Pennsylvania                       Valid         JMcM[REDACTED]FMG    KMc[REDACTED]FMG




  date_time     ipaddress                                     credentialstatus        username           username
 12/10/2024   [REDACTED] ->       Georgia                          Valid            [REDACTED] ->    FMGLAW-[REDACTED]


  date_time     ipaddress                                     credentialstatus        username            username
 12/11/2024   [REDACTED] ->        Texas                           Valid            [REDACTED] ->    JMcM[REDACTED]FMG
 12/3/2024    [REDACTED] ->        Texas                           Valid            [REDACTED] ->    JMcM[REDACTED]FMG




  date_time     ipaddress                                     credentialstatus        username              username
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/12/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/11/2024   [REDACTED] ->      unknown                           Valid            [REDACTED] ->      CM[REDACTED]l462.
 12/11/2024   [REDACTED] ->      unknown                           Valid            [REDACTED] ->      CM[REDACTED]l462.
 12/10/2024   [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/9/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/9/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/9/2024    [REDACTED] ->      unknown                           Valid            [REDACTED] ->       CT[REDACTED]661.
 12/9/2024    [REDACTED] ->      unknown                           Valid            [REDACTED] ->       CT[REDACTED]661.
 12/6/2024    [REDACTED] ->       Kansas                           Valid            [REDACTED] ->      NW[REDACTED]r756
 12/6/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/6/2024    [REDACTED] ->      unknown                           Valid            [REDACTED] ->      CM[REDACTED]l462.
 12/6/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/6/2024    [REDACTED] ->      unknown                           Valid            [REDACTED] ->      CM[REDACTED]l462.
 12/6/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/5/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/5/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/5/2024    [REDACTED] ->      unknown                           Valid            [REDACTED] ->      CM[REDACTED]l462.
 12/5/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/4/2024    [REDACTED] ->       Kansas                           Valid            [REDACTED] ->       TG[REDACTED]529
 12/4/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]
 12/3/2024    [REDACTED] ->       Virginia                        Invalid           [REDACTED] ->    Stamps_654[REDACTED]


 date_time      ipaddress                                     credentialstatus        username            username
 12/9/2024    [REDACTED] ->       Georgia                          Valid            [REDACTED] ->       NB[REDACTED]#
 12/5/2024    [REDACTED] ->       Georgia                          Valid            [REDACTED] ->       NB[REDACTED]#
 12/2/2024    [REDACTED] ->       Georgia                          Valid            [REDACTED] ->       NB[REDACTED]#
 12/2/2024    [REDACTED] ->       Georgia                          Valid            [REDACTED] ->       NB[REDACTED]#
 12/2/2024    [REDACTED] ->       Georgia                          Valid            [REDACTED] ->       NB[REDACTED]#




                                                        19
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                                                    #:1580

  Account Name        [REDACTED]
    Other Name        [REDACTED]
      Meter #         [REDACTED]
  DATE OPENED         5/23/2024
   Billing Name       Ft. Lauderdale Office
  Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
  Mailing Address     301 E. Las Olas Blvd., Suite 250. Ft. Lauderdale, FL, 33301
 Physical Address     301 E. Las Olas Blvd., Suite 250. Ft. Lauderdale, FL, 33301
  Company Name        Freeman Mathis & Gary LLP
Meter Email Address   [REDACTED]
    Other Email       [REDACTED]
     Phone #          [REDACTED]


  Account Name        [REDACTED]
      Meter #         [REDACTED]
  DATE OPENED         10/30/2017
   Billing Name       [REDACTED]
  Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
  Mailing Address     100 Galleria Parkway. Atlanta, GA, 30339
 Physical Address     550 S Hope Street Ste 2200. Los Angeles, CA, 90071
  Company Name        Freeman Mathis & Gary, LLP
Meter Email Address   [REDACTED]
     Phone #          [REDACTED]


  Account Name        [REDACTED]
    Other Name        [REDACTED]
      Meter #         [REDACTED]
  DATE OPENED         8/13/2024
   Billing Name       Miami Office
  Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
  Mailing Address     9130 South Dadeland Blvd, Suite 200. Miami, FL, 33156
 Physical Address     9130 South Dadeland Blvd, Suite 200. Miami, FL, 33156
  Company Name        FREEMAN MATHIS & GARY, LLP
Meter Email Address   [REDACTED]
    Other Email       [REDACTED]
     Phone #          [REDACTED]


  Account Name        [REDACTED]
    Other Name        [REDACTED]
      Meter #         [REDACTED]
  DATE OPENED         3/11/2016
   Billing Name       Forest Park Office
  Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
  Mailing Address     661 Forest Parkway, Suite E. Forest Park, GA, 30297



                                                            20
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  Physical Address     661 Forest Parkway, Suite E. Forest Park, GA, 30297
   Company Name        Freeman Mathis & Gary
 Meter Email Address   [REDACTED]
     Other Email       [REDACTED]
      Phone #          [REDACTED]

     Usernames                                 Name                            Email

[REDACTED]             Tracie G                                              [REDACTED]
[REDACTED]             Chelsea M                                             [REDACTED]
[REDACTED]             Nyaijah W                                             [REDACTED]
[REDACTED]             Cynthia T                                             [REDACTED]


   Account Name        EW
     Other name        [REDACTED]
       Meter #         [REDACTED]
   DATE OPENED         2/28/2019
    Billing Name       El Segundo Office
   Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
   Mailing Address     1960 E GRAND AVE. EL SEGUNDO, CA, 90245
  Physical Address     1960 E GRAND AVE STE 810. EL SEGUNDO, CA, 90245
   Company Name        Freeman Mathis & Gary, LLP
 Meter Email Address   [REDACTED]
     Other Email       [REDACTED]
      Phone #          [REDACTED]
     Username          HB Office


   Account Name        NB
       Meter #         [REDACTED]
   DATE OPENED         3/12/2018
    Billing Name       Atlanta Office
   Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
   Mailing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
  Physical Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
   Company Name        Freeman Mathis & Gary, LLP
 Meter Email Address   [REDACTED]
      Phone #          [REDACTED]



   Account Name        EC
       Meter #         [REDACTED]
   DATE OPENED         10/30/2017
    Billing Name       WH [REDACTED]
   Billing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
   Mailing Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339
  Physical Address     100 Galleria Parkway Suite 1600. Atlanta, GA, 30339



                                                            21
Case 2:24-cv-10546-MWF-BFM                Document 59 Filed 06/10/25   Page 23 of 33 Page ID
                                                #:1582

  Company Name        Freeman Mathis & Gary, LLP
Meter Email Address   [REDACTED]
    Other Email       [REDACTED]
     Phone #          [REDACTED]




                                                    22
Case 2:24-cv-10546-MWF-BFM   Document 59 Filed 06/10/25   Page 24 of 33 Page ID
                                   #:1583




   Exhibit 1.1
                     One Legal Proof of Service
                                Subponea




                                       23
     Case 2:24-cv-10546-MWF-BFM                   Document 59 Filed 06/10/25                      Page 25 of 33 Page ID
                                                        #:1584
STEPHEN CHAPMAN
7917 Selma Ave #336
Los Angeles, CA 90046
619-550-7543



Representing: In Pro Per                                             File No. ‌




                                                UNITED STATES DISTRICT COURT
                                Central District of California - District - Los Angeles - First Street




                    Stephen Chapman                       )          Case No. 2:24-cv-10546-MWF(BFM)
                    Plaintiff/Petitioner                  )
                                                          )          Proof of Service of:
                          vs.                             )          Subpoena to Produce Documents, Information, or Objects or
                                                          )          to Permit Inspection of Premises in a Civil Action
 Horace Mann Property & Casualty Insurance Company, et al )
                Defendant/Respondent                      )          Service on:
                                                          )          STAMPS.COM
                                                          )
                                                          )



                                                                     Hearing Date:



                                                                     Hearing Time:



                                                                     Div/Dept:




                                                      PROOF OF SERVICE
Order # 25459640

                                                                    24
       Case 2:24-cv-10546-MWF-BFM                                    Document 59 Filed 06/10/25                           Page 26 of 33 Page ID
                                                                           #:1585
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
 STEPHEN CHAPMAN
 7917 Selma Ave #336
 Los Angeles, CA 90046
                 TELEPHONE NO:619-550-7543          FAX NO (Optional):
                              Stephen@chapmanmed.com
     E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name): In Pro Per

 Insert name of court, judicial district or branch court, if any:
 United States District Court
 Central District of California - District - Los Angeles - First Street
 350 W. First Street
 Los Angeles, CA 90012
     PLAINTIFF / PETITIONER:       Stephen Chapman                                                                  CASE NUMBER:
 DEFENDANT / RESPONDENT:           Horace Mann Property & Casualty Insurance Company, et al                         2:24-cv-10546-MWF(BFM)

 HEARING DATE:                                                  HEARING TIME:                                       HEARING LOCATION:


                                                                                                                    Ref. No. or File No.:
                                                PROOF OF SERVICE                                                    13389007 (25459640)


1. At the time of service I was a citizen of the United States, over 18 years of age and not a party to this action, and I served copies of:
Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



2. Party Served:                                                STAMPS.COM by serving Alex Jenkins — CSC Lawyers Incorporating Service - Agent for Service



3. Date & Time of Delivery:                                     May 28, 2025 at 1:26 pm PDT



4. Address, City and State:                                     2710 Gateway Oaks Drive Suite 150N Sacramento, CA, 95833



5. I received the above document(s) for service on:             May 23, 2025



6. Witness Fees:                                                Witness fees and mileage both ways were not demanded or paid.



Fee for service: $50.00                                                               I declare under penalty of perjury under the laws of the United States of
                                                                                      America and the State of California that the foregoing is true and correct.
Registered California process server.
Brandon Ortiz
County: Sacramento
Registration No.: 2012-037
                                                                                                                       Brandon Ortiz
InfoTrack US, Inc. - P000634
1400 North McDowell Blvd Suite 300,                                                   Date: June 9, 2025
Petaluma, CA 94954
800-938-8815




                                                                           PROOF OF SERVICE
                                                                                                                                                          Page 1 of 1
                                                                                                                                                     Order #25459640


                                                                                       25
Case 2:24-cv-10546-MWF-BFM   Document 59 Filed 06/10/25   Page 27 of 33 Page ID
                                   #:1586




        Exhibit 2
                  Intermittent Docket Appearance of
                   Address inconsistencies "No 336"




                                       26
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                                   #:1587




                                       27
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                                   #:1588




        Exhibit 3
                        Amount in Controversy
              Opposition to Defendants Declaration ECF
                                34-2




                                       28
         Case 2:24-cv-10546-MWF-BFM                        Document 59 Filed 06/10/25                      Page 30 of 33 Page ID
                                                                 #:1589
                                                                                                                                          CM-110
      PLAINTIFF/PETITIONER: Stephen Chapman                                                         CASE NUMBER:

 DEFENDANT/RESPONDENT: Horace Mann Property and Casualty Insurance Company                          STCV27909

4. b. Provide a brief statement of the case, including any damages (if personal injury damages are sought, specify the injury and
      damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
      earnings to date, and estimated future lost earnings; if equitable relief is sought, describe the nature of the relief):
      Pursuant to CCP § 425.10(b), Plaintiff is not required to specify an amount of damages at this time. However, Plaintiff estimates
      that damages will not exceed $74,999 and seeks damages according to proof presented at trial.This statement does not
      preclude Plaintiff from seeking any and all damages to which he may be legally entitled, including but not limited to equitable
      relief, statutory damages, punitive damages, or any additional relief the Court deems just and proper.
        (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
   The party or parties request       a jury triaI        a nonjury trial. (If more than one party, provide the name of each party
   requesting a jury trial):


6. Trial date
    a.            The trial has been set for (date):
    b.           No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):


    c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):



7. Estimated length of trial
    The party or parties estimate that the trial will take (check one)
    a.       days (specify number): 7-10
     b.           hours (short causes) (specify):
8. Trial representation (to be answered for each party)
    The party or parties will be represented at trial             by the attorney or party listed in the caption          by the following:
    a. Attorney:
     b. Firm:
    c. Address:
     d. Telephone number:                                                        f.   Fax number:
     e. Email address:                                                           g. Party represented:
        Additional representation is described in Attachment 8.
9. Preference
             This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
        the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
        processes available through the court and community programs in this case.
       (1) For parties represented by counsel: Counsel                 has          has not provided the ADR information package identified
           in rule 3.221 to the client and reviewed ADR options with the client.
       (2) For self-represented parties: Party            has          has not reviewed the ADR information package identified in rule 3.221.
    b. Referral to judicial arbitration or civil action mediation (if available).
       (1)      This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                statutory limit.
       (2)      Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                Civil Procedure section 1141.11.
       (3)      This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):
                California Rules of Court, Rule 3.811(b); (b)(8); (b)(6) may be subject to change.

                                                                                                                                           Page 2 of 5
CM-110 [Rev. January 1, 2024]
                                                       CASE MANAGEMENT STATEMENT

                                                                            29
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                                   #:1590




        Exhibit 4
           Evidence demonstrates and confirms claims that
              support the plaintiff's motion to strike




                                       30
      Case
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            2:24-cv-10546-MWF-BFM Document
                                   Document59
                                            12 Filed
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                                                                Page32
                                                                     1 of 2
                                                                          33 Page
                                                                              PageIDID
                                        #:1591
                                        #:207




                      1    Stephen Chapman
                           7917 Selma Ave 336                                                         1/23/25
                      2    Los Angeles CA 90046
                      3    619-550-7543                                                                MRV

                           StefinChapman@outlook.com
                      4    Plaintiff Pro Se
                      5
                      6
                      7
                      8    STEPHEN CHAPMAN,                                    Case No.: 2:24-CV-10546-MWF-BFM
                                                                               Judge: Honorable Michael Fitzgerald
                      9
                 10                      Plaintiff(s),
                 11
                 12             vs.
                                                                               DECLARATION OF STEPHEN
                 13                                                            CHAPMAN
                 14        HORACE MANN PROPERTY AND
                 15        CASULTY INSURANCE
                           COMPANY, and RAYMOND
                 16
                           PRUITT.
                 17
                 18                      Defendant(s).
                 19
                 20           Declaration of Stephen Chapman
                 21
                              I, Stephen R. Chapman, declare as follows:
                 22
                                      1. I am the Plaintiff in this action and am appearing pro se.
                 23
                 24                   2. On Dec.6, I received the following documents from Defendant, which appear

                 25                      tobe invalid under 28 U.S.C. § 1447(c), Federal Rule of Civil Procedure 5,
                 26
                                         and 28 U.S.C. § 1446(d);
                 27
                                         o Notice of Removal of Action Under 28 U.S.C. § 1441;
                 28
                                         o Civil Cover Sheet;
Form prepared by pro
 se litigant; Plaintiff,
  Stephen Chapman
        MS. CAA                                 _________________________________________________________
                                           DECLARATION OF THE PLANTIFF PRO SEE APPLICATION FOR EX PARTE RELIEF




                                                                 Page 12 of 139
                                                                          31
      Case
       Case2:24-cv-10546-MWF-BFM
            2:24-cv-10546-MWF-BFM Document
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                                            12 Filed
                                                Filed06/10/25
                                                      01/23/25 Page
                                                                Page33
                                                                     2 of 2
                                                                          33 Page
                                                                              PageIDID
                                        #:1592
                                        #:208




                      1                    o Certificate and Notice of Interested Parties;
                      2                    o Declaration of Kristin Ingulsrud;
                      3
                                           o Declaration of Matthew Rubin.
                      4
                                       3. Upon review, none of these documents bear a state court stamp indicating they
                      5
                      6                    were actually filed with the state court.

                      7                4. Based on my assessment, this failure constitutes a procedural defect under 28
                      8                    U.S.C. § 1446(d).
                      9
                                I declare under penalty of perjury under the laws of the United States that the foregoing
                 10
                                is true and correct.
                 11
                 12             DATED: 01/21/2025

                 13
                 14             Stephen R. Chapman
                                Plaintiff, Pro Per
                 15
                 16             Enclosures
                 17        1.      Copies of the purportedly filed documents provided by Defendant.
                 18
                           2.      State court records showing the absence of these documents.
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28

Form prepared by pro
 se litigant; Plaintiff,
  Stephen Chapman
        MS. CAA                                   _________________________________________________________
                                             DECLARATION OF THE PLANTIFF PRO SEE APPLICATION FOR EX PARTE RELIEF




                                                                   Page 13 of 139
                                                                            32
